Case 9:18-cv-01467-GTS-MJK Document 200 _ Filed 03/26/25 Page 1 of 19

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

MATTHEW RAYMOND,

Plaintiff,
vs. Case No. 9:18-cv-01467

TROY MITCHELL, Lieutenant at Auburn
Correctional Facility, CHARLES THOMAS,
Correction Officer at Auburn Correctional

Facility, THOMAS HARTE, Correction Officer

at Auburn Correctional Facility, THOMAS
PHILLIPS, Correction Offer at Auburn
Correctional Facility, and THOMAS GIANCOLA,
Correction Officer at Auburn Correctional Facility,

Defendants.

STIPULATION OF SETTLEMENT, GENERAL RELEASE,
AND ORDER OF DISMISSAL

This STIPULATION OF SETTLEMENT, GENERAL RELEASE, AND ORDER OF
DISMISSAL (“Settlement Agreement”) is made by and between Plaintiff, MATTHEW RAYMOND
(“Plaintiff”), and Defendant’s, TROY MITCHELL, CHARLES THOMAS, THOMAS HARTE,
THOMAS PHILLIPS and THOMAS: GIANCOLA (sometimes collectively referred to as the
“Defendants”) (Plaintiff and Defendants are sometimes collectively referred to as “the Parties”):

WHEREAS, Plaintiff commenced the above-captioned action by filing a Complaint on
December 19, 2018 (ECF No. 1), alleging various claims against Defendants pursuant to 42 U.S.C.

§ 1983, and Defendants filed an Answer denying all of the critical allegations set forth in the
Complaint and raising various affirmative defenses; and
WHEREAS, the claims, allegations and defenses asserted in the above-captioned action,

together with all related filings and proceedings, constitute “the Action”; and

Case 9:18-cv-01467-GTS-MJK Document 200 Filed 03/26/25 Page 2 of 19

WHEREAS, by filing this Settlement Agreement, any and all claims brought against
Defendants will be dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41(a), excluding only
Plaintiffs claims for reasonable attorneys’ fees, expenses, and costs incurred in prosecuting
Plaintiff’s claims in this action; and

WHEREAS, Defendants expressly deny any wrongful conduct or liability, or violation of
any federal, state, or local statute, ordinance, or law in the Action whatsoever; and

WHEREAS, the Parties desire to fully resolve the claims raised between them and any and
all other disputes, whether known or unknown, without further litigation or proceedings before any
court or other agency, and without admission of fault or liability, excluding only Plaintiff’s claims
for reasonable attorneys’ fees, expenses, and costs incurred in prosecuting Plaintiffs claims in this
action; and

WHEREAS, Plaintiff assigns all of his rights to attorneys’ fees, expenses, and costs
pursuant to 42 U.S.C. § 1988 to his counsel, Emery Celli Brinckerhoff Abady Ward & Maazel LLP;
and

WHEREAS, no party to this Settlement Agreement is an infant or incompetent person for
whom a committee has been appointed, and no person not a party to this Settlement Agreement has
an interest in the subject matter of the Action;

NOW, THEREFORE, in consideration of the mutual promises, covenants, representations,
and other consideration contained in this Settlement Agreement, the Parties hereby stipulate and
agree, and the Court orders, as follows:

1. Dismissal of the Action with Prejudice: The Action and all claims asserted therein

are hereby dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)Gi), with no payment
in excess of the amount specified in Paragraph 2 of this Settlement Agreement to be paid to Plaintiff

to settle the claims raised in the Action, excluding only Plaintiff’s claims for reasonable attorneys’

Case 9-18-cv-61467-GTS-MJK Document 200 Filed 03/26/25 Page 3 of 19

fees, expenses, and costs incurred in prosecuting Plaintiff’s claims in this action.

2. Payment to Plaintiff: For and in consideration of Plaintiff's execution of this
Settlement Agreement, his agreement to be bound by its terms, and his undertakings as set forth
herein including, but not limited to, the dismissal of the Action with prejudice and other good and
valuable consideration, the sufficiency of which is hereby acknowledged, and subject to any
reservation for payment to Medicare or other taxes, liens or setoffs as set forth in herein, the State
of New York, on behalf of all Defendants, shall pay the Plaintiff the total sum of One Million Two
Hundred Thousand Dollars and Zero Cents ($1,200,000.00) (consisting of $1,200,000.00 for
compensatory damages only), plus Plaintiff's reasonable ‘attorneys’ fees, expenses, and costs
incurred in prosecuting Plaintiff’s claims in this action. The Parties hereby understand and agree
that the amount of reasonable attorneys’ fees, costs and expenses to be paid to Plaintiff by
Defendants will be resolved between the Parties separately pursuant to the procedure set forth in
Paragraph 4 in this Settlement Agreement.

The Office of the New York State Comptroller shall issue any and all appropriate Internal
Revenue tax forms, as follows:

a. The State of New York, on behalf of all Defendants, shall pay the gross sum of One
Million Two Hundred Thousand Dollars and Zero Cents ($1,200,000.00) in full and
complete satisfaction of any and all claims, allegations, or causes of action for
compensatory damages (including, but not limited to, physical injuries, pain and
suffering, mental and emotional anguish and trauma, reputational damages, punitive
damages, and liquidated damages), excluding only Plaintiff’s claims for reasonable
attorneys’ fees, expenses, and costs incurred in prosecuting Plaintiff’s claims in this
action. The foregoing payment shall be made payable to “Emery Celli Brinckerhoff

Abady Ward & Maazel LLP as Attorneys for Matthew Raymond,” and the check is to

Case 9:18-cv-01467-GTS-MJK Document 200 Filed 03/26/25 Page 4of19

be mailed to Katherine R. Rosenfeld, Esq., Emery Celli Brinckerhoff Abady Ward &
Maazel LLP, One Rockefeller Plaza, 8th Floor, New York, New York 10020,

3: State Approval of Payments: Payment of the amount specified in Paragraph 2 of
this Settlement Agreement is conditioned upon and subject to the approval of all appropriate State
officials in accordance with N.Y. Pub. Off. Law § 17. Plaintiffand Plaintiff s attorneys agree to execute
and deliver all necessary and appropriate vouchers and other documentation requested with respect
to obtaining such approval and effectuating payment including, but limited to, Plaintiff's Affirmation
of Medicare Status as set forth in Paragraph 7 of this Settlement Agreement.

4. Payment of Plaintiff’s Attorneys’ Fees: The Parties agree to negotiate in good faith
regarding the amount of reasonable attorneys’ fees, costs and expenses to be paid to Plaintiff by
Defendants. If those negotiations are unsuccessful, the Parties agree that Plaintiff shall move the
Court requesting reasonable attorneys’ fees, costs, and expenses, and that such motion shall be made
no later than 60 days after the after the execution of this Settlement Agreement. For purposes of this
motion for attorneys’ fees and costs only, the parties agree that the Plaintiff is a “prevailing party”
within the meaning of 42 U.S.C. § 1988. Defendants agree to pay Plaintiffs counsel the attorneys’
fees and costs awarded by the Court pursuant to plaintiff's motion, following the conclusion of any
appeals, The Court will retain jurisdiction over this matter for the purpose of deciding any motion
for attorneys’ fees and costs filed by Plaintiff pursuant to this paragraph, if such a motion becomes
necessary.

5 Accrual of Interest: In the event payment of the amount specified in Paragraph
2 of this Settlement Agreement has not been made by the one hundred twentieth (120th) day after
receipt by the Office of the Attorney General (“OAG”) of a “So Ordered” copy of this Agreement,
entered into the record by the Clerk of Court, together with all other documentation required under

this Settlement Agreement, interest on any part of the settlement amount not paid by the one hundred
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twentieth (120th) day shall accrue at the statutory rate prescribed by 28 U.S.C. § 1961, commencing
on the one hundred twenty-first (121st) day after receipt by the Office of the Attorney General of all
documentation required under this Settlement Agreement. However, if the provisions of N.Y. Exec.
Law § 632-a apply to Plaintiff and the payment to Plaintiff of any amount(s) specified in Paragraph
2 of this Settlement Agreement constitutes “funds of a convicted person” under the Son of Sam Law,
the one hundred and twenty (120) day period shall be extended by an additional thirty (30) days to
allow for compliance with that law.

6. Responsibility for Taxes: It is understood and agreed that any taxes, or interest or
penalties on taxes, which may attach to the payment specified in Paragraph 2 of this Settlement
Agreement, by operation of law or otherwise, shall be the sole and complete responsibility of Plaintiff,
and that Plaintiff shall have no claim, right or cause of action against Defendants or the State of New
York (including, but not limited to, any and all present and former agencies, departments, divisions,
subdivisions, subsidiaries, administrators, principals, officers, employees, directors, members, agents,
attorneys, insurers, and assigns, whether in an individual or official capacity) on account of such taxes,
interest or penalties. Plaintiff agrees that he will defend, indemnify, and hold harmless all Defendants
and the State of New York (including, but not limited to, any and all present and former agencies,
departments, divisions, subdivisions, subsidiaries, administrators, principals, officers, employees,
directors, members, agents, attorneys, insurers, and assigns, whether in an individual or official
capacity), in any claim, proceeding, action, or demand brought in any forum or manner, judicial,
administrative or otherwise, to satisfy or for the satisfaction of any such tax or interest or penalty on
such tax.

7. Responsibility for Liens and Setoffs: It is understood and agreed that any liens,
setoffs, deductions, or recoupments of any kind (including, but not limited to, any and all workers’

compensation, tax, Medicare, Medicaid, unemployment compensation or benefits, or child support
Case 9:18-cv-01467-GTS-MJK Document 200 _ Filed 03/26/25 Page 6 of 19

liens) which may attach to the payment specified in Paragraph 2 of this Settlement Agreement, by
operation of law or otherwise, shall be the sole and complete responsibility of Plaintiff, and that
Plaintiff shall have no claim, right or cause of action against Defendants or the State of New York
(including, but not limited to, any and all present and former agencies, departments, divisions,
subdivisions, subsidiaries, administrators, principals, officers, employees, directors, members, agents,
attomeys, insurers, and assigns, whether in an individual or official capacity) on account of such
taxes, interest or penalties. Plaintiff agrees that he will defend, indemnify, and hold harmless all
Defendants and the State of New York (including, but not limited to, any and all present and former
agencies, departments, divisions, subdivisions, subsidiaries, administrators, principals, officers,
employees, directors, members, agents, attorneys, insurers, and assigns, whether in an individual or
official capacity), in any claim, proceeding, action, or demand brought in any forum or manner,
judicial, administrative or otherwise, to satisfy or for the satisfaction of any such any liens, setoffs,

deductions, or recoupments.

8. Medicare Certification: Plaintiff represents and warrants that he is not currently

a Medicare recipient and/or Medicare eligible, has never been on Medicare or Social Security
Disability Insurance, that no conditional payments-have been made on his behalf by Medicare, and
further that he does not expect to be Medicare eligible and/or a Medicare recipient within the next
thirty (30) months following the date of this Settlement Agreement. Plaintiff agrees to deliver a fully
executed Affirmation of Medicare Status in the form annexed hereto as Exhibit A (“Medicare
Affirmation”) to the Office of the New York State Attorney General. Plaintiff acknowledges and
understands that receipt of a fully executed Medicare Affirmation by the Office of the New York
State Attorney General, together with any required supporting documentation, is a prerequisite to
payment of the settlement amount referenced in Paragraph 2 herein and falls within the category of

“other documentation” and “required documentation” described in this Settlement Agreement.

Case 9:18-cv-01467-GTS-MJK Document 200 _ Filed 03/26/25 Page 7 of 19

9. Responsibility for Medicare Payments or Medicare Liens: Plaintiff agrees to

defend, indemnify, and hold harmless all Defendants and the State of New York (including, but not

limited to, any and all present and former agencies, departments, divisions, subdivisions, subsidiaries,
administrators, principals, officers, employees, directors, members, agents, attorneys, insurers, and
assigns, whether in an individual or official capacity) for any liens or past or future Medicare
payments presently known or unknown in connection with the Action. If conditional or future
anticipated Medicare payments have not been satisfied, Defendants and the State of New York reserve
the right to issue a multi-party settlement check naming Medicare as a payee or to issue a check to
Medicare directly based on the Medicare Final Demand Letter with respect to the settlement amount
specified in this Settlement Agreement. Upon receipt of all required documentation, payment of the
settlement amount specified in Paragraph 2 of this Settlement Agreement shall be made in accordance
with the terms set forth herein.

10. General Release: For and in consideration of the payment of the amount specified in
Paragraph 2 of this Settlement Agreement, Plaintiff, on behalf of himself, his heirs, executors,
administrators, successors, and assigns (collectively, “the Releasing Parties”), releases and forever
discharges the State of New York, DOCCS, and each of the Defendants, together with their present
and former agencies, departments, divisions, subdivisions, subsidiaries, administrators, principals,
officers, employees, directors, members, agents, attorneys, insurers, heirs, and assigns, whether in an
individual or official capacity, or any of them, or all of them (collectively, “the Released Parties”)
from all manner of claims, actions, proceedings, suits, grievances, administrative charges, injuries,
debts, obligations, dues, sums of money, accounts, contracts, agreements, promises, damages,
judgments, and demands whatsoever, direct or indirect, known or unknown, discovered or
undiscovered, that the Releasing Parties ever had, now has, or shall or may have in the future against

some, any, or all of the Released Parties, related to or arising out of the acts, transactions, occurrences,

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Case 9:18-cv-01467-GTS-MJK Document 200 Filed 03/26/25 Page 8 of 19

or omissions which are described, alleged, or contained in the Complaint and all related filings and
proceedings in Matthew Raymond v. Troy Mitchell, Charles Thomas, Thomas Harte, Thomas Phillips
and Thomas Giancola, 18-cv-01467 (N.D.N.Y.), excluding only Plaintiff’s claims for reasonable
attorneys’ fees, expenses, and costs pursuant incurred in prosecuting Plaintiff’s claims in this action.
Plaintiff does not waive or release any nonwaivable statutory protections. Plaintiff does not waive or
release any claims that may arise after Plaintiff executes the Settlement Agreement. Additionally,
nothing in the release prohibits Plaintiff from speaking with law enforcement, the Equal Employment
Opportunity Commission, the State Division of Human Rights, a local commission on human rights,
or an attorney, or testifying, assisting, or participating in an investigation, hearing, or proceeding
conducted by any state, federal, or local government agency.

11. No Other Action or Proceeding: Other than this Action, Plaintiff represents that he
has not commenced, maintained, or prosecuted any action, charge, complaint, grievance, or
proceeding of any kind that is still pending against the Released Parties, on his own behalf or on behalf
of any other person and/or on behalf of or as a member of any alleged class of persons, that none of
the foregoing is currently pending in any court or before any administrative or investigative body or
agency, and acknowledges that this representation constitutes a material inducement for Defendants
to enter into this Settlement Agreement.

12. Waiver of Attorneys’ Liens: The undersigned attorneys for Plaintiff do hereby
release and waive any attorneys’ lien they may have on the settlement proceeds in the Action
pursuant to N.Y. Judiciary Law §§ 475 and 475-a or any other state or federal law, statute, contract, or
otherwise, excluding only Plaintiff’s claims for reasonable attorneys’ fees, expenses, and costs

incurred in prosecuting Plaintiff’s claims in this action.

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13. No Other Attorneys: Plaintiff represents and warrants that, besides the undersigned
attorneys for Plaintiff, there are no other attorneys that have a lien on the settlement proceeds in the
Action pursuant to the provisions of N.Y. Judiciary Law §§ 475 and 475-a or any other state or federal
law, statute, contract, or otherwise.

14. No Prevailing Party: Neither Plaintiffnor any Defendant shall be deemed a “prevailing
party” for any purpose including, but not limited to, any statutory or contractual claim based upon
“prevailing party” status with respect to the Action, except as set forth in Paragraph 4 of this
Settlement Agreement.

15. No Admission of Liability: It is understood and agreed that any actions taken or
payments made pursuant to this Settlement Agreement are made solely to avoid the burdens and
expense of protracted litigation, and cage this Settlement Agreement, and the actions taken or
payments made pursuant hereto, are not to be construed as constituting any determination on the
merits of any claims in the Action or as constituting any admission of wrongdoing or liability on the
part of Defendants or the State of New York (including, but not limited to, any and all present and
former agencies, departments, divisions, subdivisions, subsidiaries, administrators, principals,
officers, employees, directors, members, agents, attorneys, insurers, and assigns, whether in an
individual or official capacity). Nothing contained in this Settlement Agreement shall be deemed to
constitute a policy, practice, or custom of Defendants or the State of New York (including, but not
limited to, any and all present and former agencies, departments, divisions, subdivisions, subsidiaries,
administrators, principals, officers, employees, directors, members, agents, attorneys, insurers, and
assigns, whether in an individual or official capacity).

16. No_Precedential Value: This Settlement Agreement shall not in any manner be
construed as determinative of the issues or claims raised in the Action or any other proceeding and

shall have no precedential value. In addition, notwithstanding the provisions of any paragraph herein,
Case 9:18-cv-01467-GTS-MJK Document 200 Filed 03/26/25 Page 10 of 19

this Settlement Agreement shall not bind or collaterally estop Defendants or the State of New York
(including, but not limited to, any and all present and former agencies, departments, divisions,
subdivisions, subsidiaries, administrators, principals, officers, employees, directors, members,
agents, attorneys, insurers, and assigns, whether in an individual or official capacity) in any pending
or future actions or proceedings in which the same or similar issues are raised, from defending any
and all issues raised in said actions or proceedings, or from advancing any and all available defenses.

17. Authority: Each signatory to this Settlement Agreement hereby represents and
warrants that he, she or it has the requisite authority to enter into this Settlement Agreement and has
not previously assigned or transferred any rights or interests with respect to the matters covered by
this Settlement Agreement.

18. Voluntary Agreement: Plaintiff represents that he has carefully read and fully
understands all provisions of this Settlement Agreement, including the General Release. Plaintiff
represents that he has executed and delivered this Settlement Agreement voluntarily after being fully
informed of its terms, contents, and effect, and acknowledges that he understands its terms, contents,
and effect, Plaintiff acknowledges that no compromise or representation of any kind, other than as set
forth or referred to herein, has been made to any party or anyone acting on behalf of any party.

19. Negotiated Agreement: The Parties acknowledge that each of them has cooperated
in the drafting and preparation of this Settlement Agreement. The language in all parts of this
Settlement Agreement shall be in all cases construed according to its fair meaning and not strictly for
or against any party.

20. Binding Effect_on Successors and Assigns: The terms and conditions of this

Settlement Agreement shall inure to the benefit of, and be binding upon, the successors and assigns of

each party hereto.

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Zi. Entire Agreement: This Settlement Agreement constitutes the entire agreement
between the Parties hereto pertaining to the subject matter hereof, and supersedes and embodies,
merges and integrates all prior and current agreements and understandings of the Parties hereto,
whether written or oral, with respect to the subject matter of this Settlement Agreement, and may not
be clarified, modified, changed, or amended except in a writing duly executed by the parties hereto
or an authorized representative of the Parties hereto.

22. Governing Law: The terms of this Settlement Agreement shall be governed by,
and construed in accordance with, the laws of the State of New York applicable to contracts to be
performed wholly within the State of New York, except to the extent that federal law may apply to
Plaintiff's release and waiver of federal claims pursuant to Paragraph 9 of this Settlement Agreement.

23. Severeability: If any provision of this Settlement Agreement shall be held by a court
of competent jurisdiction to be invalid, void, or unenforceable in whole or in part, such decision shall
not invalidate the remaining portions of the Settlement Agreement or affect the Agreement’s validity.

24, Headings: The headings contained in this Settlement Agreement are for
convenience of reference only and are not a material part of this Settlement Agreement.

25. Counterparts: This Settlement Agreement may be executed in one or more
counterparts, each of which shall be deemed an original and which, taken together, shall constitute one
and the same instrument. PDF and facsimile signatures shall constitute original signatures.

26. Submission to the Court: This Settlement Agreement shall be submitted without

further notice to the Court to be “So Ordered.”

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Case 9:18-cv-01467-GTS-MJK Document 200 _ Filed 03/26/25 Page 12 of 19

WHEREFORE, the Parties hereto acknowledge that they have read this Settlement
Agreement and accept and agree to the terms and provisions contained herein and have each

executed this Settlement Agreement to be effective on the date the Agreement is last executed

below.

Dated: March | ¥ , 2025

Matthew/Raymond

STATE OF NEW YORK )
) 88.
COUNTY OF ERIE )
On-the / / : ‘day of March, 2025, before me personally came and appeared Matthew

Raymond, personally known to me or proved to me on the basis of satisfactory evidence to be the
individual whose name is subscribed to the within instrument, and acknowledged to me that they
executed the same in their capacity, and that by their signature on the instrument, the individual, or the
person upon behalf of which the individual acted, executed the instrument.

fo — ~ yy
KRISTIN BARLOW fe KY),
Notary Public - State of New York a  \ aK. PAS f See ie
No. 01840023870 7 = ae
Qualified in Erie County Notary Public
My Commission Expires 04/24/2028

ADDITIONAL SIGNATURES TO FOLLOW ON THE NEXT PAGE

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Dated: March , 2025

Troy Mitchell
Dated: March _—«s 2025

Charles Thomas
Dated: March ___—, 2025

Thomas Harte
Dated: March, 2025

Thomas Phillips

Dated: March , 2025

Thomas Giancola

Dated: March 18, 2025 Kdlon Ae Eenorsfacsl

Katherine R. Rosenfeld, Esq.
Emery Celli Brinckerhoff Abady
Ward & Maazel LLP

One Rockefeller Plaza, 8" Floor
New York, New York 10020

E: krosenfeld@ecbawm.com

Dated: March , 2025

Barry N. Covert, Esq.

Lipsitz Green Scime Cambria LLP
42 Delaware Avenue, Suite 120
Buffalo, New York 14202

E: beovert@lglaw.com

Dated: March , 2025 SO ORDERED

Hon. Glenn T. Suddaby
United States District Judge

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Case 9:18-cv-01467-GTS-MJK Document 200 Filed 03/26/25 Page 14 of 19

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Charles Thomas
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Thomas Harte
Dated: March ____, 2025

Thomas Phillips
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Thomas Giancola

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Thomas Harte
Dated: March, 2025

Thomas Phillips
Dated: March , 2025

Thomas Giancola

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Dated: March 2025 | one Yy A) { ourt—

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